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                                      ORDERED.
 Dated: June 09, 2025




                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION
                                  www.flmb.uscourts.gov

In re:                                               Case No. 6:24-bk-03843-LVV
                                                     Chapter 7
CHAIM LEVILEV,

            Debtor.
________________________________/

              ORDER GRANTING TRUSTEE’S MOTION FOR
   APPROVAL AND NOTICE OF PROPOSED COMPROMISE OF CONTROVERSY

         THIS CASE came before the Court on the Motion for Approval and Notice of Proposed

Compromise of Controversy (Doc. No. 120) (the “Motion”), filed by Gene Chambers, Chapter 7

Trustee (the “Trustee”). The Motion was served on all interested parties with the Local Rule 2002-

4 negative notice legend informing the parties of their opportunity to object within 21 days plus 3

additional days for service by mail. No party filed a response within the time permitted. The Court

therefore considers this matter to be unopposed. The Court, having reviewed the Motion and the

terms of the compromise between the Trustee and Chaim Levilev (the “Debtor”), and determining

that the Compromise is in the best interest of the estate, finds that the Motion should be granted.

Accordingly, it is

         ORDERED
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       1.      The Motion (Doc. No. 120) is GRANTED.

       2.      The Global Settlement Agreement entered into between the Parties, which was

attached to the Motion as Exhibit “A” (the “Settlement Agreement”), is approved in its entirety.

       3.      The Parties are directed to comply with the terms of the Settlement Agreement,

including the execution of any papers necessary to effectuate the terms of the Settlement

Agreement.

       4.      The Debtor will commence monthly payments to the Trustee on the first business

day after the 5th of the first month that occurs fourteen (14) days after the entry of this order

approving the Settlement Agreement and continue monthly payments on the first business day

after the 5th of each month until the full amount of the agreement has been paid.

       5.      The automatic stay, under 11 U.S.C. § 362, is lifted to the extent necessary to

effectuate the terms of the Settlement Agreement.

       6.      The Court retains jurisdiction to enforce the terms and conditions of the Settlement

Agreement and to resolve any disputes pertaining to the Settlement Agreement.

       7.      Distribution of this order will be limited to the United States Trustee, Gene T.

Chambers, Chapter 7 Trustee, the parties to the Settlement Agreement, along with their attorneys

and any objecting parties.

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Cynthia Lewis is directed to serve a copy of this Order on interested parties who are non-CM/ECF
users and file a proof of service within 3 days of entry of the Order.
